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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 17-24203-CIV-DPG/AOR

  MARIA LARIN and all others similarly  )
  situated under 29 U.S.C. 216(b),      )
                                        )
                Plaintiffs,             )
        vs.                             )
                                        )
  LOVING HEART HOME HEALTH CARE, )
  INC.,                                 )
  JOAQUIN MARQUEZ,                      )
  SONIA MARQUEZ,                        )
                                        )
               Defendants.              )
  _____________________________________ )

   PLAINTIFF’S NOTICE OF HEARING BEFORE THE HONORABLE MAGISTRATE
                       JUDGE ALICIA OTAZO-REYES

          PLEASE TAKE NOTICE that the undersigned attorneys for the respective Parties will

  call to be heard on the Court’s discovery calendar before the HONORABLE MAGISTRATE

  JUDGE ALICIA OTAZO-REYES, at the c. Clyde Atkins U.S. Courthouse, 301 North Miami

  Avenue, 10th Floor, Miami, FL 33128, on July 11, 2018, commencing at 10:00 a.m.

      1. Plaintiff’s Supplemental Request for Production Dated 5/16/18 Directed Towards
         Each Defendant:

      Requests for Production #2-7 and #9-#13

      Copies of contracts by and between Defendants, insurance companies and the agencies for

  patients assigned to Plaintiff are highly relevant to show Defendants control over Plaintiff. In light of

  Defendants affirmative Defense of independent contractor, Plaintiff must be allowed to see the

  relationship through contracts by and between Defendants, the insurance company, and the patients,

  in order to show that the Defendants were the ones with control over the Plaintiff. Plaintiff has

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  agreed for Defendants to redact any HIPPA protected information and yet Defendants still refuse to

  produce same. Further, copies of payments by and between Defendants insurance companies and the

  agencies for patients assigned to Plaintiff; are highly relevant to show who paid the plaintiff, who

  controlled Plaintiff’s pay, who determined how much Plaintiff was paid, etc.

          “Home Health/Home Care and Weekly Visit Record” Documents

          Defendants have been withholding approximately 650 pages of highly relevant,

  responsive documents showing Plaintiff’s time records and daily responsibilities. Defendants’

  refusal to produce said documents is based on a false notion of a need for confidentiality and

  Plaintiff Counsel’s refusal to sign a broad and unnecessary ten (10) page Confidentiality

  agreement. After much conferral, an agreement could not be made regarding narrowing the

  confidentiality agreement. Further, even if the Defendants agree to produce the documents, they

  refuse to produce ALL the records because “the tasks being performed are repetitive in

  nature. A large sampling of the forms is more than sufficient.” Defendants opinion that a large

  sampling of documents is sufficient is not an adequate defense to producing responsive

  documents.

                                 CERTIFICATE OF CONFERRAL

          The Parties have been unable to resolve the above discovery issues and will continue to

  confer in good faith. Should the issues be resolved prior to the scheduling Hearing, Plaintiff will

  immediately advise the Court.

                                                          Respectfully submitted,

                                                         J. H. ZIDELL, P.A.
                                                         ATTORNEYS FOR PLAINTIFF
                                                         300-71ST STREET, SUITE 605
                                                         MIAMI BEACH, FLORIDA 33141
                                                         305-865-6766
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                                            305-865-7167

                                            By:_s/ Rivkah F. Jaff, Esq. ___
                                               Rivkah F. Jaff, Esquire
                                               Florida Bar No.: 107511


                           CERTIFICATE OF SERVICE

   I HEREBY CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING
                   WAS SENT VIA CM/ECF ON 6/27/18 TO:

                            J. FREDDY PERERA, ESQ.
                           PERERA LAW GROUP, P.A.
                        12555 ORANGE DRIVE, SUITE 268
                             DAVIE, FLORIDA 33330
                           TELEPHONE: 786-485-5232
                      EMAIL: FREDDY@PERERALAW.COM

                      BY:___/s/___Rivkah Jaff______________
                               RIVKAH JAFF, ESQ.




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